                   Case 18-16171      Doc 18-2    Filed 07/17/18    Page 1 of 2




                              UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF MARYLAND


IN RE:

Lakel V. Ebb                                        *      Case No: 18-16171
                                                    *
                                                    *
                                                    *
           Debtor                                   *
                                                    *       Chapter 13

* * * * *           * *   *   *   *   *   *   *   * * * * * * * * * * * * *
Lakel V. Ebb

           Movant(s)
vs

Santander Consumer USA

           Respondent

* *      * *   *    * *   *   *   *   *   *   *   * * * * * * * * * * * * *


          ORDER GRANTING MOTION TO DETERMINE SECURED STATUS OF CLAIM
         AND MODIFY RATE OF INTEREST AND ADEQUATE PROTECTION PAYMENT


 Having considered debtor’s motion, and any response filed thereto, and it appearing that proper notice
has been given, pursuant to 11 U.S.C. § 506, it is by the United States Bankruptcy Court for the
District of Maryland, it is hereby

 ORDERED, that the value of the collateral securing Respondent’s claim is $8,825.00 at 5.75%
interest, and it is further
                    Case 18-16171     Doc 18-2     Filed 07/17/18     Page 2 of 2

 ORDERED, that at such time as a discharge Order is entered in this case pursuant to 11 U.S.C. §
1328, the lien held in favor of Respondent on the property described below is void to the extent of
Respondent’s unsecured claim:

 2007 Lexus ES350

and it is further

 ORDERED, that if the Respondent has filed a proof of claim, the claim of the Respondent be and
hereby is allowed for purposes of distributions under the Debtor’s plan as a secured claim in an
amount not to exceed the value of the Respondent’s collateral and as a general unsecured claim for the
balance; and it is further

 ORDERED, that if the Respondent has not filed a proof of claim, the claim of the Respondent be and
hereby is allowed for purposes of distributions under the Debtor’s plan as a secured claim in an
amount not to exceed the value of the Respondent’s collateral and as a general unsecured claim for the
balance if a proof of claim is filed on or before the later of (i) the claims bar date previously fixed by
this court, or (ii) twenty-eight (28) days after entry of this order; and it is further

 ORDERED, that allowance of the claim of the Respondent pursuant to this order is without prejudice
to objection to such claim on other grounds.




                                           END OF ORDER

cc: Trustee
    Respondent
    Debtors’ Attorney
    Debtors
